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                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES                                        :       Case No. 3:17-cv-00072

                    Plaintiff                              :       Judge MOON
                                                                   Mag. Judge Hoppe

                                                           :
             -v-

    JASON KESSLER et al.                                   :

                                                           :
                    Defendants

    _______________________________________________________

     DEFENDANTS’ POSITION ON TRANSPORTATION OF CHRISTOPHER
                     CANTWELL FOR TRIAL
    _______________________________________________________

             Defendants Jason Kessler, Nathan Damigo, and Identity Evropa (“Defendants”)

    respectfully make this submission on the subject of the transportation of Christopher Cantwell

    for trial.

             Defendants agree with plaintiffs that it is within the Court’s discretion whether or not

    to issue a writ ad testificandum regarding Mr. Cantwell. Defendants further agree that it is

    within this Court’s power to order Cantwell transferred from his current institution to

    Charlottesville for trial even if there are budgetary or other issues inherent in such an order.

             Nevertheless, Defendants are concerned with the plaintiffs’ suggestion that “it would

    make sense for the Marshals to bring Mr. Cantwell to Charlottesville only for his own

    testimony (which we would anticipate should last 1- 2 days at most)” (ECF 1080 at p.3). If

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    Cantwell is brough to the trial, then each party must be given an equal opportunity for a full

    examination of Mr. Cantwell before the jury. In defendants’ view, the Court would abuse its

    discretion if it permitted plaintiffs to call Cantwell in their case in chief while limiting the

    other parties to cross while Cantwell is in the courtroom.

            It may well be that “1-2 days” is sufficient time for all parties to fully examine

    Cantwell and for Cantwell himself to provide what testimony he will to the jury. However,

    given the verbosity of Cantwell’s written submissions to the Court, that seems unlikely.

            Therefore, defendants respectfully suggest that if the Court orders Cantwell to be

    produced for trial that he either be permitted to be present for the entire trial or at least for 3

    days of court time, so as to avoid prejudicing any defendant herein.



                                                                    Respectfully Submitted,

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                                                                    Trial Attorneys for Jason Kessler,
                                                                    Nathan Damigo, and Identity
                                                                    Evropa


                                    CERTIFICATE OF SERVICE

    I certify the above was served on September 18, 2021 on all ECF participants and that parties
    requiring service by other means were served as follows:


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                                                           Respectfully Submitted,

                                                           s/__James E. Kolenich________




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